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1                             DECLARATION OF MELISSA MILLS
2          I, Melissa Mills, declare as follows:
3          1.     I am an Assistant United States Attorney representing the government in the
4    matter of United States v. David H. Wright, 21-CR-559-SB. I have knowledge of the
5    facts set forth herein and could and would testify to those facts fully and truthfully if
6    called and sworn as a witness.
7          2.     Exhibit 1 is a copy of a June 1, 2017 Board Letter signed by defendant
8    David H. Wright (“defendant”) and directed to the Los Angeles Department of Water
9    and Power (“LADWP”) Board of Commissioners (“Board”) regarding a proposed
10   contract with Aventador Utility Solutions, LLC.
11         3.     Exhibit 2 is a copy of an excerpted portion of a Federal Bureau of
12   Investigation (“FBI”) Report of Interview of Gwendolyn W. Williams (“Williams”),
13   LADWP’s Director of Supply Chain Services, dated December 10, 2019. To maintain
14   the integrity of the investigation, to protect the privacy interests of other people
15   discussed in the interview, and to avoid burdening the Court with extraneous material,
16   information not directly relevant to the instant proceeding has been redacted from this
17   exhibit.
18         4.     Exhibit 3 is a copy of a memorandum, dated June 5, 2017, from Williams to
19   defendant and another LADWP executive.
20         5.     Exhibit 4 is an email chain commencing on June 6, 2017, between
21   defendant and Michael Botnick, copying other LADWP employees. This email contains
22   a footer denoting, “Attorney Client Privileged Communication – Attorney Work Product
23   – For Settlement Purposes Only.” During the investigation, the government learned that
24   internal LADWP written communications routinely included such caveats, which were
25   used for the purpose of shielding the communications from disclosure in litigation and
26   pursuant to public-records requests. LADWP attorneys were frequently copied on non-
27   legal communications for the same purpose. None of the participants in this email
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1    exchange were LADWP attorneys, and the contents are not subject to the attorney-client
2    privilege, the attorney work product protection, or any litigation-settlement protection.
3          6.     Exhibit 5 is a video and audio clip of the discussion related to Agenda Item
4    22 (approximately 19 minutes and two seconds) at an LADWP Board meeting on June 6,
5    2017. The recording is publicly available in the LADWP Board’s video archives at the
6    following link: http://ladwp.granicus.com/MediaPlayer.php?view_id=2&clip_id=972
7          7.     Exhibit 6 is a copy of a “Declaration of the Independent CC&B System
8    Monitor” signed by Paul Bender (“Bender”) on May 5, 2017.
9          8.     Exhibit 7 is a copy of an excerpted portion of an FBI Report of Interview of
10   Bender dated April 20, 2021. To maintain the integrity of the investigation, to protect
11   the privacy interests of other people discussed in the interview, and to avoid burdening
12   the Court with extraneous material, information not directly relevant to the instant
13   proceeding has been redacted from this exhibit.
14         9.     Exhibit 8 is a copy of a photograph taken by FBI Special Agent (“SA”)
15   Andrew Civetti at a café in downtown Los Angeles on April 3, 2019, depicting Paul
16   Paradis sitting alone at a table with a brown paper bag containing defendant’s cell phone
17   and a “burner” phone.
18         10.    Exhibit 9 is a copy of a photograph taken by SA Civetti moments later
19   depicting defendant holding the brown paper bag containing the two phones and exiting
20   the café alone.
21         11.    Exhibit 10 is an audio clip of a surreptitiously recorded conversation
22   between defendant and Paradis on March 29, 2019.
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1          12.    Exhibit 11 is a video and audio clip of the discussion related to Agenda
2    Item B (“Opening Remarks by the Commission President”) (approximately 21 minutes
3    and five seconds) at an LADWP Board meeting on December 14, 2021. The recording
4    is publicly available in the LADWP Board’s video archives at the following link:
5    http://ladwp.granicus.com/MediaPlayer.php?view_id=2&clip_id=1853
6          I declare under penalty of perjury under the laws of the United States of America
7    that the foregoing is true and correct to the best of my knowledge and that this
8    declaration is executed at Los Angeles, California, on April 8, 2022.
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11                                                    MELISSA MILLS
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